      Case 1:23-cv-00187-JCG Document 86   Filed 12/01/23   Page 1 of 9




           UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE JENNIFER CHOE-GROVES, JUDGE



GOVERNMENT OF CANADA, et al.,
                  Plaintiffs,
CANFOR CORPORATION, et al.,
                  Plaintiff-Intervenors,
            v.
                                             Court No. 23-00187
UNITED STATES,
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS et al.,
                  Defendant-Intervenors.


CANFOR CORPORATION, et al.,
                  Plaintiffs,
TOLKO INDUSTRIES LTD., et al.,
                  Plaintiff-Intervenors,
            v.
                                             Court No. 23-00188
UNITED STATES,
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS, et al.,
                  Defendant-Intervenors.
      Case 1:23-cv-00187-JCG Document 86   Filed 12/01/23   Page 2 of 9




COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS,
                  Plaintiff,
SIERRA PACIFIC INDUSTRIES,
                  Plaintiff-Intervenor,      Court No. 23-00189

            v.
UNITED STATES,
                  Defendant,
CARRIER FOREST PRODUCTS LTD., et al.,
                  Defendant-Intervenors.

TOLKO INDUSTRIES LTD., et al.,
                  Plaintiffs,
            v.
UNITED STATES,
                                             Court No. 23-00204
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS, et al.,
                  Defendant-Intervenors.


RESOLUTE FP CANADA INC., et al.,
                  Plaintiffs,
            v.
UNITED STATES,
                                             Court No. 23-00206
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS, et al.,
                  Defendant-Intervenors.
          Case 1:23-cv-00187-JCG Document 86             Filed 12/01/23    Page 3 of 9




                                     PROPOSED ORDER

         Upon consideration of the Motion to Consolidate filed by the Committee Overseeing

Action for Lumber International Trade Investigations or Negotiations, it is hereby

         ORDERED that the motion is granted; and it is further

        ORDERED that the above-captioned cases are consolidated into Government of Canada
v. United States, Ct. No. 23-00187; and it is further

        ORDERED that the parties shall file a single joint status report and proposed scheduling
order in the lead case no later than December 11, 2023.

         SO ORDERED.



                                             The Honorable Jennifer Choe-Groves, Judge

Dated:
         New York, New York
      Case 1:23-cv-00187-JCG Document 86   Filed 12/01/23   Page 4 of 9




           UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE JENNIFER CHOE-GROVES, JUDGE



GOVERNMENT OF CANADA, et al.,
                  Plaintiffs,
CANFOR CORPORATION, et al.,
                  Plaintiff-Intervenors,
            v.
                                             Court No. 23-00187
UNITED STATES,
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS, et al.,
                  Defendant-Intervenors.


CANFOR CORPORATION, et al.,
                  Plaintiffs,
TOLKO INDUSTRIES LTD., et al.,
                  Plaintiff-Intervenors,
            v.
                                             Court No. 23-00188
UNITED STATES,
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS, et al.,
                  Defendant-Intervenors.
      Case 1:23-cv-00187-JCG Document 86       Filed 12/01/23   Page 5 of 9




COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS,
                  Plaintiff,
SIERRA PACIFIC INDUSTRIES,
                  Plaintiff-Intervenor,          Court No. 23-00189

            v.
UNITED STATES,
                  Defendant,
CARRIER FOREST PRODUCTS LTD., et al.,
                  Defendant-Intervenors.

TOLKO INDUSTRIES LTD., et al.,
                  Plaintiffs,
            v.
UNITED STATES,
                                                 Court No. 23-00204
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS, et al.,
                  Defendant-Intervenors.


RESOLUTE FP CANADA INC., et al.,
                  Plaintiffs,
            v.
UNITED STATES,
                                                 Court No. 23-00206
                  Defendant,
COMMITTEE OVERSEEING ACTION FOR
LUMBER INTERNATIONAL TRADE
INVESTIGATIONS OR NEGOTIATIONS, et al.
                  Defendant-Intervenors.




                                           2
         Case 1:23-cv-00187-JCG Document 86                  Filed 12/01/23      Page 6 of 9




                                  MOTION TO CONSOLIDATE

        Pursuant to Rule 42(a) of the Rules of the U.S. Court of International Trade (“USCIT”),

the Committee Overseeing Action for Lumber International Trade Investigations or Negotiations

(“COALITION”), respectfully requests that the Court consolidate the five above-captioned

appeals under the lead case Government of Canada v. United States, Court No. 23-00187.

        On August 1, 2023, the U.S. Department of Commerce (“Commerce”) published its final

determination in the fourth administrative review of the antidumping duty order on certain

softwood lumber products from Canada. See Certain Softwood Lumber Products From Canada:

Final Results of Antidumping Duty Administrative Review and Final Determination of No

Shipments; 2021, 88 Fed. Reg. 50,106 (Dep’t Commerce Aug. 1, 2023) (“Final Results”);

Certain Softwood Lumber Products from Canada: Amended Final Results of Antidumping Duty

Administrative Review in Part; 2021, 88 Fed. Reg. 61,511 (Dep’t Commerce Sept. 7, 2023)

(amending the Final Results to correct for a ministerial error identified by the COALITION).

        Five separate actions challenging aspects of the Final Results have been commenced in

this Court: (1) Government of Canada v. United States, No. 23-00187; (2) Canfor Corp. v.

United States, No. 23-00188; (3) Committee Overseeing Action for Lumber Int’l Trade

Investigations or Negotiations v. United States, No. 23-00189; (4) Tolko Industries Ltd. v. United

States, No. 23-00204; and (5) Resolute FP Canada Inc. v. United States, No. 23-00206.

        Pursuant to USCIT Rule 42(a), “{i}f actions before the court involve a common question

of law or fact, the court may: (1) join for hearing or trial any or all matters at issue in the actions;

(2) consolidate the actions; or (3) issue any other orders to avoid unnecessary cost or delay.” The

Court possesses “broad discretion” in determining whether to grant consolidation. See Manuli,

USA, Inc. v. United States, 659 F. Supp. 244, 247 (Ct. Int’l Trade 1987) (citation omitted). The

plaintiffs in court numbers 23-00187, 23-00188, 23-00189, 23-00204, and 23-00206 each


                                                   3
         Case 1:23-cv-00187-JCG Document 86               Filed 12/01/23     Page 7 of 9




challenge the same administrative proceeding and involve the same administrative record. Thus,

consolidating these cases will promote judicial efficiency and conserve the resources of the

parties and the Court because it will reduce the number of duplicative filings that would occur if

the cases remained separate. See Vicentin S.A.I.C. v. United States, 324 F. Supp. 3d 1377, 1380

(Ct. Int’l Trade 2018) (explaining that “{c}onsolidation may be appropriate when it promotes

judicial economy or avoids inconsistent results” (citation omitted)). Moreover, each of the

above-captioned cases have been assigned to the same judge.

       Although motions to consolidate pursuant to USCIT Rule 42(a) are not specified in

USCIT Rule 7(f), counsel for the COALITION conferred by email on November 28, 2023 with

counsel to the parties (and intervenor-applicants) in the above-captioned cases regarding their

position on the relief sought in this motion. These consultations are summarized below:

           •   On November 28, 2023, Jeffrey S. Grimson, counsel for Olympic Industries, Inc.,
               Olympic Industries ULF, Carrier Forest Products Ltd., and Carrier Lumber Ltd.,
               indicated that they have no objection to consolidation.
           •   On November 29, 2023, Elliot J. Feldman, counsel for Resolute FP Canada Inc.,
               the Conseil de l’Industrie forestière du Québec, and the Ontario Forest Industries
               Association, stated that they agree with consolidation.
           •   On November 29, 2023, Stephen C. Tosini, counsel for the United States, stated
               that the government agrees with consolidation.
           •   On November 29, 2023, Nancy A. Noonan, counsel for the Government of
               Québec, consented to this motion.
           •   On November 29, 2023, Amy Lentz, counsel for British Columbia Lumber Trade
               Council, indicated that they agree with consolidation.
           •   On November 29, 2023, Donald Harrison, counsel for West Fraser Mills Ltd.,
               indicated that they agree with consolidation.
           •   On November 29, 2023, Henry D. Almond, counsel for Tolko Industries Ltd.,
               Tolko Marketing and Sales Ltd., and Gilbert Smith Forest Products Ltd.,
               consented to this motion.
           •   On November 29, 2023, Lynn Fisher Fox, counsel for the Government of Alberta,
               indicated that they agree with consolidation.




                                                 4
        Case 1:23-cv-00187-JCG Document 86              Filed 12/01/23    Page 8 of 9




           •   On November 29, 2023, R. Will Planert, counsel for Canfor Corporation,
               Canadian Forest Products, Ltd., and Canfor Wood Products Marketing, Ltd.,
               consented to this motion.
           •   On November 29, 2023, Diana Dimitriuc-Quaia, counsel for Interfor Corporation
               and Interfor Sales and Marketing Ltd., consented to this motion.
           •   On November 29, 2023, Stephanie E. Hartmann, counsel for Sierra Pacific
               Industries, including its subsidiary Seneca Sawmill Company, consented to this
               motion.
           •   On November 29, 2023, H. Deen Kaplan, counsel for the Government of Ontario,
               indicated they agree with consolidation.
           •   On November 30, 2023, Eric S. Parnes, counsel for the Government of Canada,
               consented to this motion.
           •   On November 30, 2023, Mark. B. Lehnardt, counsel for Fontaine Inc., indicated
               that it does not oppose this motion.

Counsel for the COALITION also consulted with the following non-parties that have filed

motions to intervene:

           •   On November 29, 2023, Jay C. Campbell, counsel for J.D. Irving, Limited,
               consented to this motion.
           •   On November 29, 2023, Diana Dimitriuc-Quaia, counsel for Chaleur Forest
               Products Inc. and Chaleur Forest Products L.P., consented to this motion.
           •   On November 29, 2023, Rajib Pal, counsel for Delco Forest Products Ltd., Devon
               Lumber Co. Ltd., H.J. Crabbe & Sons Ltd., Langevin Forest Products Inc.,
               Marwood Ltd., North American Forest Products Ltd., and Twin Rivers Paper Co.
               Inc., consented to this motion.
           •   On November 30, 2023, Myles S. Getlan, counsel for ER Probyn Export Limited,
               Rayonier A.M. Canada G.P., AJ Forest Products Ltd., and Scierie Alexandre
               Lemay & Fils Inc., consented to this motion.




                                               5
        Case 1:23-cv-00187-JCG Document 86             Filed 12/01/23      Page 9 of 9




       WHEREFORE, the COALITION respectfully request that this Court consolidate the

above-captioned cases into the lead case, Government of Canada v. United States, Court

No. 23-00187.


                                                   Respectfully submitted,

                                                   /s/ Zachary J. Walker
                                                   Zachary J. Walker

                                                   PICARD KENTZ & ROWE LLP
                                                   1750 K Street, NW – Suite 800
                                                   Washington, DC 20006
                                                   (202) 888-0595
                                                   zwalker@pkrllp.com

                                                   Counsel to the COALITION

Dated: December 1, 2023




                                              6
